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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                            No. 2: 07-cr-0165 LKK KJN P

12          vs.

13   LUIS MANUEL SANCHEZ ACEVES,

14                  Movant.                                FINDINGS AND RECOMMENDATIONS

15                                                /

16                  Movant is a federal prisoner proceeding without counsel with a motion to vacate,

17   set aside or correct his sentence pursuant to 28 U.S.C. § 2255. Movant challenges his 2000

18   conviction for conspiring to possess with intent to distribute and distribute cocaine in violation of

19   Title 21 U.S.C. § 846 and 841(a)(1).

20                  Pending before the court is respondent’s motion to dismiss filed June 28, 2011.

21   Movant did not file an opposition. After carefully considering the record, the undersigned

22   recommends that respondent’s motion be granted.

23                  Movant raises two claims alleging that evidence was illegally seized in violation

24   of the Fourth Amendment.

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 1                  Respondent moves to dismiss this action on grounds that movant waived his right

 2   to file a motion pursuant to 28 U.S.C. § 2255. On January 26, 2010, movant plead guilty.

 3   Movant’s written plea agreement contains an express waiver of his right to collaterally attack his

 4   guilty plea and sentence.1 When movant entered his guilty plea, he acknowledged that he was

 5   waiving his right to file a motion pursuant to 28 U.S.C. § 2255.2 On May 25, 2010, movant was

 6   sentenced to 156 months in prison.

 7                  A defendant may waive the statutory right to bring a § 2255 action. United States

 8   v. Pruitt, 32 F.3d 431, 433 (9th Cir. 1994); United States v. Abarca, 985 F.2d 1012, 1014 (9th

 9   Cir. 1992). A waiver of the right to file a § 2255 motion made pursuant to a negotiated plea

10   agreement is enforceable except with respect to a claim that the plea was involuntary or entered

11   into unintelligently. See Washington v. Lampert, 422 F.3d 864, 871 (9th Cir. 2005) (holding that

12   a plea agreement that waives the right to file a federal habeas petition pursuant to § 2254 is

13   unenforceable with respect to an ineffective assistance of counsel claim that challenges the

14   voluntariness of the waiver); Pruitt, 32 F.3d at 433 (expressing doubt that a plea agreement could

15   waive a claim that counsel erroneously induced a defendant to plead guilty or accept a particular

16   plea bargain); Abarca, 985 F.2d at 1014 (expressly declining to hold that a waiver forecloses a

17   claim of ineffective assistance or involuntariness of the waiver).

18                  Movant’s claims do not implicate the voluntariness of his plea agreement.

19   Accordingly, the undersigned finds that the instant action is barred because movant waived his

20   right to file a motion pursuant to 28 U.S.C. § 2255. Respondent’s motion to dismiss should be

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22            Movant’s plea agreement is sealed. (See Dkt. No. 208.) The plea agreement expressly
     waives the right to file a motion pursuant to 28 U.S.C. § 2255. (Id. 9 of 13.)
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               At the change of plea hearing, the court asked movant if he understood that he was
24   giving up his right “of appeal and collateral attack. What that means is that no court – what that
     means is that no court, higher, lower, or at the same level, no court will have the authority to
25   examine these proceedings to determine whether they are legally proper or whether there is a
     factual basis for your plea. Do you understand?” (Dkt. No. 279-1 at 9 of 16.) Movant
26   responded, “Yes.” (Id.)

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 1   granted.

 2                  IT IS HEREBY RECOMMENDED that:

 3                  1. Respondent’s motion to dismiss (Dkt. No. 279) be granted;

 4                  2. Movant’s motion to vacate, set aside, or correct his sentence pursuant to 28

 5   U.S.C. § 2255 (Dkt. No. 272) be dismissed; and

 6                  3 The clerk of the court be directed to close the companion civil case 2: 11-cv-

 7   1472 LKK KJN.

 8                  These findings and recommendations are submitted to the United States District

 9   Judge assigned to the case, pursuant to the provisions of 28 U.S.C. § 636(b)(l). Within twenty-

10   one days after being served with these findings and recommendations, any party may file written

11   objections with the court and serve a copy on all parties. Such a document should be captioned

12   “Objections to Magistrate Judge’s Findings and Recommendations.” Any response to the

13   objections shall be filed and served within fourteen days after service of the objections. The

14   parties are advised that failure to file objections within the specified time may waive the right to

15   appeal the District Court’s order. Martinez v. Ylst, 951 F.2d 1153 (9th Cir. 1991).

16   DATED: August 11, 2011

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                                                   KENDALL J. NEWMAN
19                                                 UNITED STATES MAGISTRATE JUDGE

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